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    UNITED STATES DISTRICT OF COURT
    FOR THE DISTRICT OF COLORADO
    ___________________________________                         Case No. 20-cr-00305-DDD

    UNITED STATES OF AMERICA                               MOTION TO RESTRICT ACCESS
                                                                 TO DOCUMENT
                                Plaintiff,
                  v.
    MICHAEL AARON TEW, JONATHAN K.
    YIOULOS, and KIMBERLEY ANN TEW,


                                Defendants.
    ___________________________________


    Undersigned counsel hereby moves under Local Criminal Rule 47.1(c) to restrict access to

 the declaration filed in support of my motion to withdraw as counsel to Michael Tew and

 Kimberley Tew in this action which is entered on the docket as Document Number 162. As set

 forth in my motion to withdraw as counsel, I seek leave to withdraw from the representation

 under Rule 1.16 of the Colorado Rules of Professional Conduct, subsections (b)(1), (b)(5), (b)(6),

 and (b)(7), and for Mr. and Mrs. Tew to be appointed counsel under the Criminal Justice Act.

 The detailed information provided in the declaration supporting my motion to withdraw should
  ___________________________________
 be limited to the Court’s review because it implicates the attorney-client relationship and client

 confidences. Disclosure of this sensitive information to the government or to the public may

 prejudice Mr. Tew in connection with this case. The motion to withdraw is based on Mr. and

 Mrs. Tew’s failure and inability to comply with the financial terms of the engagement agreement

 that render the representation unreasonably difficult. Neither the government nor the public at

 large have any legitimate or meaningful interest in accessing the more detailed, specific

 information concerning those issues that is contained in that declaration.
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     Accordingly, I respectfully request that the declaration filed as 163 on the docket in this case

 be accorded a Level 3 restriction, limiting access to the filing party and the Court. See, e.g.,

 Team Obsolete Ltd. V. A.H.R.M.A. Ltd., 464 F. Supp.2d 164, 165 (E.D.N.Y. 2006) (“A review

 of the relevant case law demonstrates that documents in support of motions to withdraw as

 counsel are routinely filed under seal where necessary to preserve the confidentiality of the

 attorney-client relationship between a party and its counsel, and that this method is viewed

 favorably by the courts.”); Sabre Int’l Security v. Torres Advanced Enterprise Solutions, LLC,

 219 F. Supp.3d 155, 159 (D.D.C. 2016) (granting motion to file documents supporting motion to

 withdraw as counsel under seal without disclosure to any party because “[t]he redacted materials

 pertain to the attorney-client relationship . . . and assist the Court in considering Moving

 Attorneys’ motion to withdraw”); Thekkek v. Lasersculpt, Inc., 2012 WL 225924, at *3

 (S.D.N.Y. Jan. 23, 2012) (granting motion to file documents in support of attorney’s motion to

 withdraw over opposing counsel’s objection where the “confidential information they contain

 pertains only to the attorney-client relationship,” the basis of the motion was a fee dispute, and

 “Plaintiffs have not articulated a legitimate interest in learning the specifics of the fee dispute.”).
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                                                   Respectfully submitted,
                                                   /s/ Tor Ekeland
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                                CERTIFICATE OF SERVICE
         I hereby certify that on this 27th day of December 2021, I electronically filed the
 foregoing with the Clerk of the Court using the CM/ECF system which will send notification of
 such filing to counsel of record.



                                                           Respectfully submitted,
                                                           /s/ Tor Ekeland
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